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                                                                                              Attorneys for Plaintiff


                                                                                                              IN THE UNITED STATES DISTRICT COURT

                                                                                                                   FOR THE DISTRICT OF ALASKA
                                TELEPHONE (907) 276-1550 • FACSIMILE (907) 276-3680




                                                                                      PATHFINDER AVIATION, INC.,                  )
                                                                                                                                  )
                                                                                                      Plaintiff,
BIRCH HORTON BITTNER & CHEROT




                                                                                                                                  )
                                                                                                                                         Case No.: 3:15-cv-00200-HRH
                                        ANCHORAGE, ALASKA 99501-3301




                                                                                                                                  )
                                           1127 WEST SEVENTH AVENUE




                                                                                              vs.                                 )
                                                                                                                                  )
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                                                                                      XTO ENERGY, INC. and SCOTT                  )
                                                                                      GRIFFITH,                                   )
                                                                                                                                  )
                                                                                                      Defendants.
                                                                                                                                  )
                                                                                                                                  )

                                                                                                                    FIRST AMENDED COMPLAINT

                                                                                              COMES NOW Plaintiff, Pathfinder Aviation, Inc. (“Pathfinder”) pursuant to

                                                                                      Federal Rule of Civil Procedure 15(a) and the Court’s February 1, 2016 order

                                                                                      granting Pathfinder leave to file an amended complaint [Docket 20], by and through

                                                                                      undersigned counsel of record, and hereby complains and alleges as follows:

                                                                                                                    PARTIES AND JURISDICTION

                                                                                              1.      Pathfinder is a corporation formed under the laws of the State of

                                                                                      Alaska, with its principal place of business in the State of Alaska.




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                                                                                              2.      Defendant XTO Energy, Inc. (“XTO”) is a corporation organized under

                                                                                      the laws of the State of Delaware, with its principle place of business in the State of

                                                                                      Texas or a state other than Alaska.

                                                                                              3.      Defendant Scott Griffith (“Griffith”) was, at all times relevant hereto,

                                                                                      employed by XTO and therefore, all the acts and omissions of Griffith, as described

                                                                                      herein, will be imputed to XTO. XTO has likewise admitted that Griffith was acting

                                                                                      within the course of his employment at all relevant times.

                                                                                              4.      At all relevant times hereto, Griffith had actual and implied authority to
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                                                                                      bind XTO, including the authority to sign contracts on behalf of XTO. Further, Griffith
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                                                                                      represented to Pathfinder, in both words and conduct, that he was fully authorized to
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                                                                                      bind XTO, including the signing of contracts, and therefore, he also had apparent
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                                                                                      authority to act on behalf of XTO.

                                                                                              5.      Jurisdiction is proper in the District Court for the District of Alaska

                                                                                      pursuant to 28 U.S.C. 1332.        Venue is proper pursuant to 28 U.S.C. 1391(b)(1)

                                                                                      and (2).

                                                                                                                      GENERAL ALLEGATIONS

                                                                                              6.      Pathfinder incorporates by reference paragraphs 1-5 of this Complaint

                                                                                      as if fully set forth herein.

                                                                                              7.      XTO is a subsidiary of ExxonMobil (“Exxon”). Its Alaska Operations

                                                                                      focused on oil production in the Cook Inlet and was based in Nikiski and Kenai,

                                                                                      Alaska. At all times relevant hereto, Griffith served as the production superintendent

                                                                                      for the Alaska Operations Division of XTO.




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                                                                                              8.      Pathfinder is a Homer-based provider of helicopter services and

                                                                                      logistical support pursuant to FAA Parts 133, 135 and 137, providing services to the

                                                                                      oil and gas, mining and construction industries. Pathfinder is owned by Michael and

                                                                                      Mary Fell. Michael Fell (“Fell”) serves as its president.

                                                                                              9.      Pathfinder specializes in remote operations and extreme climates. In

                                                                                      particular, Pathfinder is often hired by oil industry clients to transport employees to

                                                                                      various locations throughout Alaska, from oil platforms in Cook Inlet to oil exploration

                                                                                      sites in Northern Alaska.
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                                                                                              10.     On June 4, 2014, XTO reached out to Pathfinder to explore the
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                                                                                      possibility of hiring it to support its Alaskan operations because it was not happy with
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                                                                                      its current provider of transportation services. This inquiry began a review process
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                                                                                      whereby Exxon examined Pathfinder’s entire program with the goal of determining

                                                                                      whether it would hire Pathfinder.     This included a number of inspections and a

                                                                                      complete review of all of Pathfinder’s operations, safety protocol, maintenance and

                                                                                      manuals.

                                                                                              11.     In furtherance of this review process, Fell and Griffith met in

                                                                                      January 2015 to discuss the acquisition of a specific helicopter airframe that met

                                                                                      XTO’s particular contract requirements:         An Airbus EC135P2+ (“Airbus EC”).

                                                                                      Thereafter, XTO’s aviation management team met with Pathfinder to perform a “gap

                                                                                      analysis” of Pathfinder’s assets and services, after which XTO determined that

                                                                                      Pathfinder qualified as an acceptable vendor.

                                                                                              12.     During February 2015, Fell and Griffith exchanged several emails which

                                                                                      discussed the fact that Pathfinder had located an Airbus EC, which was pending


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                                                                                      Exxon’s approval. The two also communicated both directly and via email regarding

                                                                                      several contract terms, including the length of the contract, Pathfinder’s request for a

                                                                                      termination clause, and Pathfinder’s monthly and hourly rates for transportation

                                                                                      services.

                                                                                              13.     On February 25, 2015, Griffith and Fell had a telephone conversation

                                                                                      wherein Griffith announced that Pathfinder had been awarded the contract and would

                                                                                      be XTO’s transportation services provider. Griffith further stated that the contract

                                                                                      would commence on September 1, 2015, but that Pathfinder needed to build the
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                                                                                      necessary infrastructure before the start date in order to perform under the contract.
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                                                                                              14.     Griffith sent an email to follow up on their conversation, which stated,
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                                                                                      “XTO Energy has made the decision to go with Pathfinder Aviation as our helicopter
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                                                                                      support contractor for our Alaska Operations. I will begin working immediately to put

                                                                                      the contract together under the terms we have discussed.             Once a draft of the

                                                                                      contract has been completed, I will send it to you for your review [and] then a final

                                                                                      contract will be put in place for approval [and] signature by both, XTO Energy Inc.

                                                                                      and Pathfinder Aviation.”

                                                                                              15.     Griffith’s February 25, 2015 email, which was copied to three other XTO

                                                                                      employees in supervisory positions, included the agreed-upon 10-year term, with the

                                                                                      option of up to five one-year extensions.           The contract was to commence

                                                                                      September 1, 2015; XTO would pay Pathfinder a rate of $176,636 per month plus

                                                                                      $1,100 per flight hour “dry,” meaning excluding the price of fuel.

                                                                                              16.     The February 25, 2015 email also included details regarding a start-up

                                                                                      fee of $50,000 and a termination clause. The start-up fee and termination clause


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                                                                                      were of particular importance because it gave Pathfinder a measure of protection by

                                                                                      requiring 180 days written notice, meaning that XTO would have to pay a minimum of

                                                                                      $1,109,816 in the event XTO simply cancelled or suspended the contract.

                                                                                              17.     The terms of the contract further specified that Pathfinder would provide

                                                                                      XTO a helicopter “that meets all the requirements outlined by the ExxonMobil

                                                                                      Aviation Operation Guidelines (AOG) and the International Association of Oil & Gas

                                                                                      Producers, Aircraft Management Guidelines (OGP).” The terms further stipulated

                                                                                      that “XTO Energy will work closely with Pathfinder Aviation [and] our ExxonMobil
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                                                                                      aviation advisor(s) to ensure that we succeed in meeting the requirements outlined
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                                                                                      by these two documents.”
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                                                                                              18.     The February 25, 2015 email also confirmed that XTO Energy planned
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                                                                                      to enter into an additional agreement with Pathfinder whereby if the primary

                                                                                      helicopter -- the Airbus EC -- was taken off the XTO contract in support of other

                                                                                      aviation clientele or for repairs and maintenance, XTO would pay for the use of a

                                                                                      twin-engine Bell 212 helicopter for back-up, up to the first 12 months of the contract.

                                                                                              19.     The February 25, 2015 email further indicated that XTO was about to

                                                                                      notify its then-current helicopter provider, ERA Helicopters, that it would be

                                                                                      terminating its contract and “going in another direction.” Such a termination indicated

                                                                                      a clear commitment to award the contract to Pathfinder, as XTO could not operate

                                                                                      without the transportation services being offered by Pathfinder.

                                                                                              20.     After the February 25, 2015 confirmation email and over the course of

                                                                                      the spring 2015, Pathfinder worked to acquire the additional aircraft and to arrange

                                                                                      for modifications to conform to XTO’s operation guidelines.         These modifications


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                                                                                      involved substantial labor, time and resources. Pathfinder also purchased ground

                                                                                      support equipment, helicopter support equipment, and devoted hundreds of labor

                                                                                      hours into ensuring that Pathfinder’s personnel and equipment complied with XTO’s

                                                                                      requirements and needs. These expenses, training and labor are estimated to have

                                                                                      cost Pathfinder over $400,000. Pathfinder would never have expended this capital

                                                                                      and these resources had there not been a binding and enforceable contract in place

                                                                                      with XTO.

                                                                                              21.     Over the course of spring 2015, Fell and Griffith worked together on the
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                                                                                      minor remaining details of the contract between XTO and Pathfinder. They also
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                                                                                      worked together to ensure the modifications, training and arrangements were to
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                                                                                      XTO’s standards and requirements. Griffith continually communicated to Fell that
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                                                                                      there was an enforceable and binding contract in place, including the following: An

                                                                                      email Griffith sent on March 23, 2015, wherein he made clear that there was a

                                                                                      binding contract in place with the use of quotations; an email Griffith sent on April 30,

                                                                                      2015, reiterating the existence of a “ten year contract;” and numerous verbal

                                                                                      conversations where Griffith repeatedly assured Fell that the contract between XTO

                                                                                      and Pathfinder was binding and enforceable.

                                                                                              22.     While the parties clearly understood that there was a contract in place,

                                                                                      and were working diligently pursuant to the terms of that contract, XTO delayed in

                                                                                      signing the actual written contract.     On February 25, 2015, when Pathfinder was

                                                                                      awarded the contract, Griffith said that he would “immediately put the contract

                                                                                      together” and that the final contract would be signed thereafter.          Despite this

                                                                                      representation, Griffith failed to “immediately” present the final written contract to


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                                                                                      Pathfinder. It was not until May 8, 2015, over two months later, that Griffith finally

                                                                                      emailed the final contract to Pathfinder for signature, and then only after being

                                                                                      continually requested to do so by Pathfinder. Despite having the final written contract

                                                                                      in place, Griffith did not sign the agreement in the months that followed, and

                                                                                      ultimately never signed the document.

                                                                                              23.     In short, Griffith initially represented that he would have the contract

                                                                                      finalized and signed within a matter of weeks, if not days, but instead failed to sign

                                                                                      the contract during a period of over four months.          This timeline leads to the
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                                                                                      reasonable inference that Griffith and XTO were intentionally delaying the signing of
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                                                                                      the written contact. If this were not the case, the contract would have been signed at
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                                                                                      some point in early March 2015.
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                                                                                              24.     While Pathfinder was diligently working on building the infrastructure

                                                                                      needed to perform under the contract, XTO was in active negotiations with Hilcorp

                                                                                      Energy, Inc. (“Hilcorp”) regarding the sale of all of XTO’s assets in Alaska, a fact that

                                                                                      was not disclosed to Pathfinder. On information and belief, these discussions started

                                                                                      in late 2014, and were in full swing by January 2015, prior to Pathfinder being

                                                                                      awarded the contract with XTO.        Typically, when a company enters into a non-

                                                                                      disclosure agreement for the purpose of discussing the terms of a settlement, such

                                                                                      discussions take upwards of a year to complete, especially when, as here, the sale

                                                                                      includes considerable assets and regulatory approval.

                                                                                              25.     In these discussions, Hilcorp sought to acquire XTO’s two offshore

                                                                                      platforms and a tank facility with corresponding offices.      Such a sale, if it were




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                                                                                      finalized, would see XTO leave the Alaskan marketplace, meaning that it would no

                                                                                      longer need the transportation services that were to be provided by Pathfinder.

                                                                                              26.     XTO made a concerted effort not to make these negotiations public,

                                                                                      and actively hid these negotiations from Pathfinder because it wanted Pathfinder to

                                                                                      continue to build the infrastructure needed to support the transportation services

                                                                                      contract in the event the sale with Hilcorp fell through and these transportation

                                                                                      services were needed. XTO was afraid that if Pathfinder knew that XTO would likely

                                                                                      soon be out of the Alaskan marketplace, it would stop its efforts to build the
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                                                                                      necessary infrastructure.
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                                                                                              27.     Because Pathfinder was unaware that XTO was considering a sale to
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                                                                                      Hilcorp, it continued to work on putting the necessary equipment in place to support
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                                                                                      the contract, including the purchase of a Bell 212 helicopter for over $1.2 million.

                                                                                      Pathfinder also located an Airbus EC that met XTO’s standards and requirements,

                                                                                      with a purchase price of over $3.5 million.

                                                                                              28.     Just prior to purchasing the Airbus EC, Fell received a call from a

                                                                                      Hilcorp representative (“Hilcorp Representative”) who was close to the negotiations

                                                                                      between Hilcorp and XTO. Fell had a good and professional relationship with the

                                                                                      representatives of Hilcorp because Pathfinder provided transportation services to

                                                                                      Hilcorp. While the Hilcorp Representative did not inform Fell that Hilcorp was about

                                                                                      to purchase XTO, he did instruct Fell to be very careful when dealing with XTO and

                                                                                      committing resources to Pathfinder’s contract with XTO. The Hilcorp Representative

                                                                                      hinted that Fell needed to do whatever was necessary to ensure that XTO

                                                                                      understood there was an enforceable contract in place.


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                                                                                              29.     In retrospect, it is apparent that the Hilcorp Representative knew that

                                                                                      Hilcorp was going to purchase XTO and that once the sale went through, Pathfinder

                                                                                      would no longer be needed and XTO would claim that no contract existed. The

                                                                                      Hilcorp Representative was effectively warning Fell that XTO intended to, or would

                                                                                      likely, breach the contract.

                                                                                              30.     Based on the content of the conversation between Fell and the Hilcorp

                                                                                      Representative, a reasonable inference can be drawn that XTO and Hilcorp

                                                                                      discussed the Pathfinder contract during their negotiations.        On information and
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                                                                                      belief, Hilcorp told XTO that it did not need the transportation services being provided
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                                                                                      by Pathfinder in its contract with XTO and it did not want to assume the obligation to
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                                                                                      pay $176,636 a month as specified in the contract. At this point, Hilcorp already had
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                                                                                      its own helicopter and transportation services agreement with Pathfinder and

                                                                                      therefore did not need the transportation services Pathfinder was providing to XTO.

                                                                                      As such, Hilcorp would not have wanted to assume the contract with Pathfinder.

                                                                                              31.     In order to avoid this problem, and to facilitate the negotiations between

                                                                                      Hilcorp and XTO, it is believed that XTO told Hilcorp that it could get out of the

                                                                                      contract with Pathfinder and that the contract should not be an impediment to the

                                                                                      sale. On information and belief, XTO explained that there was no signed contract

                                                                                      and therefore it was XTO’s intent to avoid the contract by claiming that no contract

                                                                                      existed because of the lack of signature.        Because of the loyalty Hilcorp had to

                                                                                      Pathfinder, it was at this point that the Hilcorp Representative called Fell to warn him

                                                                                      of this development.




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                                                                                              32.     Due to the significant cost of the Airbus EC, and the uncertainty created

                                                                                      by Fell’s conversation with the Hilcorp Representative, Fell contacted Griffith on or

                                                                                      about June 20, 2015, to further discuss the purchase of the Airbus EC and to again

                                                                                      confirm the agreement between the two parties. Fell asked Griffith if they had an

                                                                                      enforceable contract in place and Griffith assured Fell that the contract between the

                                                                                      two parties was enforceable and binding and that he should proceed with the

                                                                                      purchase of the Airbus EC pursuant to the terms of the contract.

                                                                                              33.     Again, because of the cost of the Airbus EC and the conversation with
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                                                                                      the Hilcorp Representative, Fell asked Griffith a second time if the contract was
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                                                                                      binding, and explained that XTO’s act of walking away from this contract “had the
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                                                                                      potential to put him out of business.” Griffith again stated that the contract was
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                                                                                      enforceable, by responding as follows: “Mike, this contract is solid.”

                                                                                              34.     Because of the significance of the sale of XTO’s assets in Alaska,

                                                                                      because of Griffith’s supervisory position with the company, because it is difficult to

                                                                                      conceal such information from employees of a company being sold, and because

                                                                                      Griffith would be significantly impacted by the sale, including having to move to

                                                                                      another state, Griffith was fully aware that there were discussions taking place

                                                                                      between XTO and Hilcorp.           Due to the typical length of these complicated

                                                                                      negotiations, Griffith became aware that Hilcorp was contemplating the purchase of

                                                                                      XTO’s Alaskan assets as early as January 2015.

                                                                                              35.     Therefore, Griffith knew that there was the possibility that XTO would

                                                                                      be leaving the Alaskan marketplace and would no longer need Pathfinder’s services.

                                                                                      Despite this, Griffith continually and repeatedly assured Fell that the contract was


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                                                                                      enforceable and failed to disclose to Fell anything related to the possible sale of

                                                                                      XTO. At the time Griffith told Fell to proceed with the purchase of the Airbus EC, on

                                                                                      or about June 20, 2015, he knew XTO would later claim that the contract was no

                                                                                      good for a number of reasons, including that there was no signed contract.

                                                                                              36.     On July 1, 2015, a little over a week after Pathfinder’s purchase of the

                                                                                      Airbus EC, and a little more than a week after Griffith assured Fell that the contract

                                                                                      was enforceable and “solid,” XTO announced that it had sold its Alaska operations to

                                                                                      Hilcorp. Because it is typical to have most of the terms worked out in advance of an
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                                                                                      announcement, the actual date that XTO agreed to sell its Alaska assets to Hilcorp
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                                                                                      was on or about June 20, 2015, which is about the same date the Hilcorp
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                                                                                      representative called Fell to warn him about Pathfinder’s contract with XTO.
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                                                                                              37.     Griffith called Fell and told him that XTO would not be going forward

                                                                                      with its contract with Pathfinder. In an email dated July 2, 2015, Griffith admitted that

                                                                                      there was a “contract” with Pathfinder, but XTO would not be going forward with it

                                                                                      “due to the sale of [XTO’s] Alaska assets.”

                                                                                              38.     After this communication, Fell attempted to contact Griffith and XTO

                                                                                      regarding the contract, but to no avail. Griffith’s failure to respond to him was, in part,

                                                                                      due to the embarrassment he felt for stringing Fell along and then abandoning him

                                                                                      once the sale with Hilcorp had gone through. XTO’s next communication with Fell

                                                                                      occurred over six weeks later, in late August 2015, after XTO had received a letter

                                                                                      from Pathfinder’s counsel.

                                                                                              39.     Since XTO’s communication indicating that it would not agree to the

                                                                                      terms of the contract, and in order to avoid a monthly payment in excess of $40,000


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                                                                                      to support and maintain the helicopters, Pathfinder sold the Bell 212 helicopter at a

                                                                                      loss of over $140,000, and Pathfinder has been making every effort to sell the

                                                                                      Airbus EC, but has not yet been successful. It is anticipated that due to the unique

                                                                                      nature of the Airbus EC, which is a result of Exxon’s unusual specifications, the

                                                                                      aircraft will likely be sold for a loss of over $1 million.

                                                                                                                              COUNT I
                                                                                                                  BREACH OF CONTRACT AGAINST XTO

                                                                                              40.     Pathfinder incorporates by reference paragraphs 1-39 of this Complaint

                                                                                      as if fully set forth herein.
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                                                                                              41.     In February 2015, Pathfinder and XTO entered into a binding and
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                                                                                      enforceable contract, which encompassed all essential terms, provided for adequate
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                                                                                      consideration, with unequivocal acceptance by the parties, and which manifested

                                                                                      XTO’s intent to be so bound.

                                                                                              42.     The contract required Pathfinder to provide XTO with transportation

                                                                                      services using an Airbus EC, as well as a back-up helicopter, in exchange for

                                                                                      compensation, which included monthly and flight-hourly rates for a term of ten years,

                                                                                      with several extensions.

                                                                                              43.     As a result of this contract, Pathfinder purchased two helicopters at a

                                                                                      cost of over $5 million, and spent hundreds of thousands of dollars in ensuring that

                                                                                      the necessary infrastructure was in place to deliver the services it agreed to provide.

                                                                                              44.     XTO’s refusal to honor its contract with Pathfinder amounts to a breach

                                                                                      of contract, which damaged Pathfinder, including but not limited to direct, indirect,

                                                                                      general, special and consequential damages, and including the loss of the contract

                                                                                      itself, the exact amount to be proven at trial.

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                                                                                                                 COUNT II
                                                                                          BREACH OF QUASI-CONTRACT AND QUANTUM MERUIT AGAINST XTO

                                                                                              45.     Pathfinder incorporates by reference paragraphs 1-44 of this Complaint

                                                                                      as if fully set forth herein.

                                                                                              46.     Pathfinder provided time, resources and equipment, and made

                                                                                      numerous investments, in order to fulfill the requirements set forth in the contract with

                                                                                      XTO, and XTO’s acceptance and appreciation of these investments under the

                                                                                      circumstances makes it inequitable to do so without paying Pathfinder.

                                                                                              47.     Pathfinder’s investments and costs were made in reasonable reliance
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                                                                                      on XTO’s promise to enter into a contract, or XTO’s promise to negotiate in good faith
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                                                                                      to form a contract, and XTO thereafter broke those promises.
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                                                                                              48.     This unjust enrichment damaged Pathfinder, including but not limited to

                                                                                      direct, indirect, general, special and consequential damages, and including the loss

                                                                                      of the contract itself, the exact amount to be proven at trial.

                                                                                                                              COUNT III
                                                                                                                  PROMISSORY ESTOPPEL AGAINST XTO

                                                                                              49.     Pathfinder incorporates by reference paragraphs 1-48 of this Complaint

                                                                                      as if fully set forth herein.

                                                                                              50.     XTO made a promise to Pathfinder that it had been chosen as XTO’s

                                                                                      helicopter support contractor for its Alaskan Operations.

                                                                                              51.     XTO’s promise induced Pathfinder to act in a manner that was both

                                                                                      reasonably foreseeable and actually foreseen by XTO.               Pathfinder’s actions

                                                                                      amounted to a substantial change in its position, and as such, the enforcement of

                                                                                      XTO’s promise is necessary to ensure the interests of justice.


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                                                                                              52.     Pathfinder’s reasonable and foreseeable reliance on XTO’s promise

                                                                                      damaged Pathfinder, including but not limited to direct, indirect, general, special and

                                                                                      consequential damages, and including the loss of the contract itself, the exact

                                                                                      amount to be proven at trial.

                                                                                                                   COUNT IV
                                                                                              NEGLIGENT MISREPRESENTATION AGAINST XTO AND GRIFFITH

                                                                                              53.     Pathfinder incorporates by reference paragraphs 1-52 of this Complaint

                                                                                      as if fully set forth herein.

                                                                                              54.     XTO and Griffith made numerous representations to Pathfinder in order
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                                                                                      to induce Pathfinder into believing that there was a binding and enforceable contract
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                                                                                      in place to provide transportation services. All such representations were made in
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                                                                                      the course of the business dealings between XTO and Pathfinder and all such

                                                                                      representations concerned the contract between XTO and Pathfinder.

                                                                                              55.     These numerous representations to Pathfinder include, but are not

                                                                                      limited to, the following:

                                                                                                      a.          The verbal representations made by Griffith to Fell on

                                                                                      February 25, 2015, indicating that Pathfinder was awarded the contract;

                                                                                                      b.          The representations made in the email dated February 25, 2015

                                                                                      whereby Griffith announced that Pathfinder was awarded the contract for

                                                                                      transportation services and outlined the terms of the contract;

                                                                                                      c.          The email dated March 23, 2015, where Griffith suggested by the

                                                                                      use of quotations that the contract was final and enforceable;

                                                                                                      d.          The email dated April 30, 2015, where Griffith indicating that an

                                                                                      enforceable contract existed; and

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                                                                                                      e.          All of the verbal communications between Griffith and Fell from

                                                                                      February 25 until July 1, 2015, wherein Griffith stated there was an enforceable

                                                                                      contract between XTO and Pathfinder, including the conversation between Griffith

                                                                                      and Fell on or about June 20, 2015 where Griffith told Fell that the contract was

                                                                                      “solid.”

                                                                                              56.     All of these representations contained false information when they were

                                                                                      made because XTO claims that there was never an enforceable contract in place and

                                                                                      that it never agreed to purchase transportation services from Pathfinder. Therefore,
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                                                                                      each and every time Griffith told Fell that there was an enforceable contract in place,
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                                                                                      whether such statements were made verbally or in writing, a false statement or
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                                                                                      misrepresentation resulted.
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                                                                                              57.     All of these representations were made without reasonable care or

                                                                                      competence because each time Griffith communicated to Pathfinder that there was

                                                                                      an enforceable contract in place, these representations were false due to XTO’s

                                                                                      belief that no contract ever existed.

                                                                                              58.     For example, when Griffith told Fell to proceed with the purchase of the

                                                                                      Airbus EC and that the contract was “solid,” he knew that XTO’s assets were either

                                                                                      sold, or would soon be sold, to Hilcorp, considering that the sale of XTO to Hilcorp

                                                                                      was announced a little over a week later. Considering the small amount of time

                                                                                      between Griffith telling Pathfinder to go ahead with the purchase of the Airbus EC

                                                                                      and the announcement of the sale, Griffith most certainty knew that XTO would not

                                                                                      need Pathfinder’s services at the time he told Fell the contract was “solid.”




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                                                                                              59.     This claim is also supported by the conversation between Fell and a

                                                                                      Hilcorp Representative, who had knowledge of the sale negotiations between Hilcorp

                                                                                      and XTO.        The Hilcorp Representative warned Fell to make sure he solidified

                                                                                      Pathfinder’s contract with XTO, which is a clear indication that XTO had told Hilcorp

                                                                                      during the course of its negotiations that it intended to walk away from its agreement

                                                                                      with Pathfinder. With this knowledge in hand, Griffith lied to Fell and told him that the

                                                                                      contract was “solid” and that he should proceed with the purchase of the Airbus EC.

                                                                                              60.     All of the representations made by XTO and Griffith suggesting that
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                                                                                      there was an enforceable contract in place were false at the time they were made
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                                                                                      because during this entire timeframe XTO was actively trying to sell its Alaska assets
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                                                                                      to Hilcorp, knowing that to do so would mean that it would abandon the contract with
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                                                                                      Pathfinder.     Each time that XTO and Griffith communicated with Pathfinder and

                                                                                      promised that the contract was enforceable, binding and “solid,” they knew these

                                                                                      representations were not accurate because of XTO’s desire to sell its Alaskan

                                                                                      operation, which would not have included the Pathfinder contract.

                                                                                              61.     Further proof for the existence of these misrepresentations is the fact

                                                                                      that XTO and Griffith refused to sign the contract in a timely manner. Initially, Griffith

                                                                                      stated that he would put the contract together “immediately,” which suggests that the

                                                                                      contract would be signed in a matter of days. However, despite being repeatedly

                                                                                      requested to do so, XTO and Griffith stalled the signing of the contract for a period of

                                                                                      over four months, which leads to the reasonable inference that XTO was intentionally

                                                                                      delaying the signing of the contract and that this delay was done in order to claim that

                                                                                      the contract was unenforceable because it was not signed.


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                                                                                              62.     Pathfinder justifiably relied on the representations made by XTO and

                                                                                      Griffith and reasonably concluded that an enforceable and binding contract for

                                                                                      transportation services was in place.

                                                                                              63.     The         actions   of   XTO   and   Griffith    amount     to   negligent

                                                                                      misrepresentations, which caused Pathfinder damages including, but not limited to,

                                                                                      direct, indirect, general, special and consequential damages, and including the loss

                                                                                      of the contract itself, the exact amount to be proven at trial.

                                                                                                                        COUNT V
                                                                                                    VIOLATION OF ALASKA’S UNFAIR TRADE PRACTICES ACT
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                                                                                                                AGAINST XTO AND GRIFFITH
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                                                                                              64.     Pathfinder incorporates by reference paragraphs 1-63 of this Complaint
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                                                                                      as if fully set forth herein.
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                                                                                              65.     XTO and Griffith were engaged in trade or commerce in the State of

                                                                                      Alaska that falls within the scope of AS 45.50.471, et seq.

                                                                                              66.     XTO and Griffith engaged in unfair and deceptive practices, including

                                                                                      but not limited to, the following:          Misrepresenting their intent to contract with

                                                                                      Pathfinder for its services; representing that Pathfinder’s services had approval and

                                                                                      status that it did not have; engaging in conduct creating a likelihood of confusion or

                                                                                      misunderstanding which misled, deceived and damaged Pathfinder in connection

                                                                                      with the sale of goods and services, specifically transportation services; and

                                                                                      knowingly making false or misleading statements concerning the existence of a

                                                                                      contract.

                                                                                              67.     Additionally, the conduct of XTO and Griffith constituted deception,

                                                                                      fraud, false pretense, false promise, misrepresentation or knowing concealment,


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                                                                                      suppression or omission of a material fact with the intent that Pathfinder would rely

                                                                                      upon the concealment, suppression or omission in connection with the sale of goods

                                                                                      and services, specifically transportation services.

                                                                                              68.     The unfair and deceptive conduct, over and above a mere breach of

                                                                                      contract, included the fact that XTO and Griffith consistently and repeatedly made

                                                                                      representations to Pathfinder that there was an enforceable contract in place, when

                                                                                      these representations were false. For example, when Griffith called Fell on or about

                                                                                      June 20, 2015 and told him that the contract was “solid,” he was well aware of the
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                                                                                      fact that XTO had either been sold, or would soon be sold, to Hilcorp, as the sale was
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                                                                                      announced a little over a week after this conversation.
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                                                                                              69.     In addition, considering that the Hilcorp Representative close to the
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                                                                                      negotiations between XTO and Hilcorp called Fell and told him to be careful when

                                                                                      dealing with XTO, this demonstrates that XTO had told Hilcorp that it planned on

                                                                                      abandoning its contract with Pathfinder, meaning that XTO lied to Pathfinder, or at

                                                                                      the very least provided incomplete or inaccurate information.               The Hilcorp

                                                                                      Representative’s call to Fell was prompted by XTO indicating that it would not honor

                                                                                      its contract with Pathfinder.

                                                                                              70.     Further, XTO’s unwillingness to sign the written contract for a period of

                                                                                      over four months, when it initially stated that the contract would be signed

                                                                                      “immediately,” demonstrates that XTO knew it was going to be sold to Hilcorp, and

                                                                                      would thus not honor the contract, but refused to sign the contract, thinking it could

                                                                                      use an unsigned contract as a means to avoid the contract.




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                                                                                              71.     All of the unfair and deceptive acts and practices undertaken by XTO

                                                                                      and Griffith, as described above, caused damages, including, but not limited to,

                                                                                      direct, indirect, general, special and consequential damages, and including the loss

                                                                                      of the contract itself, the exact amount to be proven at trial.

                                                                                              72.     As a result of these unfair and deceptive acts and practices as

                                                                                      described herein, XTO and Griffith are liable for treble damages and the payment of

                                                                                      actual reasonable attorneys' fees.

                                                                                                                       PRAYER FOR RELIEF
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                                                                                              WHEREFORE, Plaintiff, Pathfinder, prays for the following relief against
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                                                                                      Defendants, XTO and Griffith:
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                                                                                              1.      Compensatory, consequential and punitive damages in an amount to
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                                                                                      exceed $100,000, the exact amount to be proven at trial;

                                                                                              2.      Treble damages per AS 45.50.471, et seq.;

                                                                                              3.      Actual attorneys' fees and costs;

                                                                                              4.      Pre-judgment and post-judgment interest; and

                                                                                              5.      Such other and further relief as this Court deems just and equitable.

                                                                                              DATED this 16th day of February, 2016.

                                                                                                                           BIRCH HORTON BITTNER & CHEROT
                                                                                                                           Attorneys for Plaintiff

                                                                                                                           By:    /s/ David Karl Gross___________________
                                                                                                                                 David Karl Gross, ABA #9611065
                                                                                                                                 Mara E. Michaletz, ABA #0803007
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                                                                                                                                 Anchorage, AK 99501
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                                                                                                                                                mmichaletz@bhb.com

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                                                                                                    CERTIFICATE OF SERVICE

                                                                                      The undersigned hereby certifies that on the 16th day
                                                                                      of February, 2016, a true and correct copy of the
                                                                                      foregoing was served on the following via the CM/ECF
                                                                                      electronic delivery system:

                                                                                      Mr. Barat M. LaPorte
                                                                                      Oles Morrison Rinker & Baker LLP
                                                                                      laporte@oles.com


                                                                                      BIRCH HORTON BITTNER & CHEROT


                                                                                      By: /s/ David Karl Gross
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